                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                             )
                                                      )       Case No. 1:12-cr-129-HSM-SKL
                                                      )
 v.                                                   )
                                                      )
 COREY WELCH                                          )

                                             ORDER

        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw his not guilty plea to Counts One and Two of the six-count

 Second Superseding Indictment; (2) accept Defendant’s plea of guilty to Counts One and Two of the

 Second Superseding Indictment; (3) adjudicate Defendant guilty of the charges set forth in Counts

 One and Two of the Second Superseding Indictment; and (4) find Defendant shall remain in custody

 until sentencing in this matter [Doc. 507]. Neither party filed a timely objection to the report and

 recommendation. After reviewing the record, the Court agrees with the magistrate judge’s report

 and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s

 report and recommendation [Doc. 507] pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

        (1)     Defendant’s motion to withdraw his not guilty plea to Counts One and Two of the

                Second Superseding Indictment is GRANTED;

        (2)     Defendant’s plea of guilty to Counts One and Two of the Second Superseding

                Indictment is ACCEPTED;

        (3)     Defendant is hereby ADJUDGED guilty of the charges set forth in Counts One and

                Two of the Second Superseding Indictment;

        (4)     Defendant SHALL REMAIN in custody until sentencing in this matter which is




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            scheduled to take place on Monday, May 19, 2014 at 2:00 p.m. [EASTERN]

            before the Honorable Harry S. Mattice, Jr.

       SO ORDERED.

       ENTER:


                                                      /s/Harry S. Mattice, Jr.
                                                      HARRY S. MATTICE, JR.
                                                 UNITED STATES DISTRICT JUDGE




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